Case 1:21-cv-03354-BAH Document 56-6 Filed 05/08/23 Page 1 of 3




           EXHIBIT 5
           Case 1:21-cv-03354-BAH Document 56-6 Filed 05/08/23 Page 2 of 3


From:             Joe Sibley
To:               Houghton-Larsen, M Annie
Cc:               Gottlieb, Michael; Governski, Meryl Conant; John Langford; MacCurdy, Maggie
Subject:          Re: Freeman v Giuliani - Undisclosed Repositories
Date:             Thursday, April 27, 2023 5:04:38 PM



                                       *** EXTERNAL EMAIL ***

Annie, see below.

On Wed, Apr 26, 2023 at 7:30 PM Houghton-Larsen, M Annie <MHoughton-
Larsen@willkie.com> wrote:

  Joe,



  Plaintiffs have repeatedly requested that Defendant identify all repositories of information
  containing information potentially responsive to Plaintiffs’ requests and for all methods of
  communication used during the relevant time period (including applications, phone numbers
  and email addresses) and for Defendant to produce all documents responsive to Plaintiffs’
  requests, including moving to compel on this issue. Defendant has represented that he has
  identified all repositories of information and all methods of communication. However,
  Plaintiffs have recently received documents and information that demonstrate that Mr.
  Giuliani was using certain methods of communications to discuss topics relevant and
  responsive to Plaintiffs’ RFPs.



  These methods of communication include the following:

           9179513862 (phone number)


Rudy reports this one one of the phones seized by the DOJ that is now inoperable.

           2129317301 (phone number)


This was a landline.

           @therudygiuliani (Instagram handle)


Still checking on this.




  Please explain why Defendant failed to identify these methods of communication and
  explain whether Defendant Giuliani has searched these repositories of information and, if
  not, why not.
     Case 1:21-cv-03354-BAH Document 56-6 Filed 05/08/23 Page 3 of 3




Thanks,

Annie




M.Annie Houghton-Larsen
Willkie Farr & Gallagher LLP
787 Seventh Avenue | New York, NY 10019-6099
Direct: +1 212 728 8164 | Fax: +1 212 728 9164
mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
Pronouns: she, her, hers



Important Notice: This  email message is intended to be received only by persons entitled to
receive the confidential information it may contain. Email messages to clients of Willkie
Farr & Gallagher LLP presumptively contain information that is confidential and legally
privileged; email messages to non-clients are normally confidential and may also be legally
privileged. Please do not read, copy, forward or store this message unless you are an
intended recipient of it. If you have received this message in error, please forward it back.
Willkie Farr & Gallagher LLP is a limited liability partnership organized in the United
States under the laws of the State of Delaware, which laws limit the personal liability of
partners.
